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                                                                           FILED
                                                               United States Court of Appeals
                       UNITED STATES COURT OF APPEALS                  Tenth Circuit

                              FOR THE TENTH CIRCUIT                              January 4, 2019
                          _________________________________
                                                                              Elisabeth A. Shumaker
                                                                                  Clerk of Court
   UNITED STATES OF AMERICA,

         Plaintiff - Appellee,

   v.                                                           No. 18-1470
                                                      (D.C. No. 1:15-CR-00383-RBJ-1)
   DANIEL DIRK CODDINGTON,                                       (D. Colo.)

         Defendant - Appellant.
                        _________________________________

                                       ORDER
                          _________________________________

  Before HOLMES and CARSON, Circuit Judges.
                     _________________________________

         Daniel Dirk Coddington was convicted after a jury trial of thirteen counts of wire

  fraud and two counts of securities fraud. In November 2018, he was sentenced to serve

  120 months in prison. Mr. Coddington is not currently in custody, but he is scheduled to

  self-surrender to the Federal Correctional Institution in Butner, North Carolina on

  Tuesday, January 8, 2019, to begin serving his sentence.

         On December 20, 2018, Mr. Coddington filed a motion to stay sentence and for

  release pending appeal. This court notified Mr. Coddington the next day that he needed

  to file a Memorandum Brief and Appendix that complied with 10th Cir. R. 9.2. On

  Mr. Coddington’s motion, this court also terminated from the case his trial attorneys that

  had filed the initial motion for release pending appeal and appointed new appellate

  counsel. Mr. Coddington’s new attorney then filed a motion asking this court to accept
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   the previously filed motion to stay sentence and for release pending appeal as his bail

   memorandum brief and appendix in order to save time and resources. We grant that

   motion and proceed to consider Mr. Coddington’s request for release pending appeal.

          In his motion, Mr. Coddington discusses at length his significant health issues,

   how he is not a danger to the community or a flight risk, and how his request for release

   meets the traditional stay factors in 10th Cir. R. 8.1. But release in a criminal case after a

   judgment of conviction is not governed by the stay factors in 10th Cir. R. 8.1; instead,

   such a request is governed by Fed. R. App. P. 9 and 18 U.S.C. § 3143(b). While we are

   sympathetic to Mr. Coddington’s health issues, he has failed to meet the standard for

   release pending appeal in § 3143(b)(1)(B). Under that statutory provision, he must be

   detained unless his appeal:

          raises a substantial question of law or fact likely to result in—(i) reversal,
          (ii) an order for a new trial, (iii) a sentence that does not include a term of
          imprisonment, or (iv) a reduced sentence to a term of imprisonment less
          than the total of the time already served plus the expected duration of the
          appeal process.
   § 3143(b)(1)(B). While he makes the conclusory assertion that he has “many meritorious

   claims to bring on appeal,” Mot. at 12, he does not identify any issue that meets the

   criteria in § 3143(b)(1)(B). We must make our decision regarding release in accordance

   with the applicable provisions in § 3143. See Fed. R. App. P. 9(c). Accordingly, we

   deny Mr. Coddington’s motion for release pending appeal.


                                                  Entered for the Court



                                                  ELISABETH A. SHUMAKER, Clerk

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